Case 2:05-cv-70188-PJD-DAS ECF No. 29 filed 10/30/06             PageID.2027      Page 1 of 3



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

VAN CHESTER THOMPKINS, JR.,

       Petitioner,                               Civil Case No. 05-70188
                                                 HONORABLE PATRICK J. DUGGAN
v.

MARY BERGHUIS,

       Respondent,
                                  /

            ORDER GRANTING CERTIFICATE OF APPEALABILITY

       Petitioner Van Chester Thompkins, Jr. (“Petitioner”) filed a petition for a writ of

habeas corpus pursuant to 28 U.S.C. § 2254, which this Court subsequently denied on

September 28, 2006. Petitioner seeks to appeal the Court’s decision with respect to the

issues presented in his habeas petition. He therefore filed a motion on October 17, 2006,

seeking a certificate of appealability from this Court. 28 U.S.C. § 2253.

       Section 2253 provides that a certificate of appealability may issue only if a

petitioner makes a substantial showing of the denial of a constitutional right. 28 U.S.C. §

2253(c)(2). As the Supreme Court has stated:

              “. . . the petitioner need not show that he should prevail on the
              merits. He has already failed in that endeavor. Rather, he
              must demonstrate that the issues are debatable among jurists
              of reason; that a court could resolve the issues [in a different
              manner]; or that the questions are adequate to deserve
              encouragement to proceed further.”

Barefoot v. Estelle, 463 U.S. 880, 893 n.4, 103 S. Ct. 3383, 3394 n.4 (1983)(quoting

Gordon v. Willis, 516 F. Supp. 911, 913 (N.D. Ga. 1980))(emphasis added and internal
Case 2:05-cv-70188-PJD-DAS ECF No. 29 filed 10/30/06               PageID.2028      Page 2 of 3



citation and quotation marks omitted). As the Supreme Court more recently stated, when

a district court denies a habeas petition on the merits of the claims presented, a certificate

may issue if the petitioner demonstrates that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong. Slack v. McDaniel,

529 U.S. 473, 484, 120 S. Ct. 1595, 1604 (2000).

       This Court dismissed Petitioner’s application for a writ of habeas on its merits.

Petitioner raised numerous claims in support of his petition, including prosecutorial

misconduct, ineffective assistance of trial counsel, a violation of his Fifth Amendment

privilege against self-incrimination, and error by the trial court in failing to suppress

certain identification testimony. In his claim asserting prosecutorial misconduct,

Petitioner asserted inter alia that the prosecutor improperly elicited evidence of

Petitioner’s exercise of his right to remain silent and offered evidence of the aider and

abettor charge against Eric Purifoy, Petitioner’s co-defendant, as well as Purifoy’s jury

verdict and guilty plea conviction. The correctness of Petitioner’s first assertion rested on

the Court’s determination with respect to Petitioner’s claim that he invoked his right to

remain silent and that his Fifth Amendment rights therefore were violated when police

officers continued to question him for almost three hours. In his ineffective assistance

claim, Petitioner asserted that his trial counsel was ineffective in failing inter alia to

request a limiting instruction regarding the use of Purifoy’s jury verdict and guilty plea

and the aider and abettor charge against Purifoy.

       While the Court continues to believe that Petitioner is not entitled a writ of habeas

                                               2
Case 2:05-cv-70188-PJD-DAS ECF No. 29 filed 10/30/06              PageID.2029         Page 3 of 3



corpus for the reasons set forth in its Opinion and Order of September 28, 2006, the Court

believes that the issues specifically identified above may be “debatable among jurists of

reason.” For this reason, the Court does not believe that Petitioner should be denied the

opportunity to seek appellate review of these issues. The Court does not find the

remaining issues raised in the petition debatable among jurists of reason.

       Accordingly, the Court holds that Petitioner is entitled to a certificate of

appealability with respect to the following issues, only:

              (1)    Whether prosecutorial misconduct violated Petitioner’s
                     right to due process when the prosecutor offered
                     evidence of Purifoy’s jury verdict and guilty plea
                     conviction and of the aider and abettor charge against
                     Purifoy;

              (2)    Whether Petitioner was denied effective assistance of
                     counsel when his trial counsel failed to request a jury
                     instruction with respect to the charge against Purifoy
                     and his jury verdict and guilty plea conviction; and,

              (3)    Whether the police officers’ questioning of Petitioner
                     violated his Fifth Amendment right to be free from
                     compelled self-incrimination.

SO ORDERED.

                                           s/PATRICK J. DUGGAN
                                           UNITED STATES DISTRICT JUDGE
Copies to:
Elizabeth L. Jacobs, Esq.
Brad H. Beaver, Assistant Attorney General




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